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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Iced Tea with Lemon, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  100 S. Central Expressway, #14                                  320 W. Las Colinas Blvd., Bldg. 2
                                  Richardson, TX 75080                                            Irving, TX 75039
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Dallas                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.drafthouse.com/dfw


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Iced Tea with Lemon, LLC                                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5121

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a                          Northern District of
     separate list.                               District   Texas                         When       2/25/22                    Case number    22-40385
                                                  District                                 When                                  Case number




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Debtor    Iced Tea with Lemon, LLC                                                                        Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      See Attachment                                                Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal              Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.

                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                                                     100 S. Centryal Expressway, #14
                                                    Where is the property?           Richardson, TX, 75080-0000
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No

                                                       Yes.     Insurance agency     Hempkins Insurance Agency
                                                                Contact name         Kristofor Spiegel
                                                                Phone                903-463-6251


          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion



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         Name


16. Estimated liabilities    $0 - $50,000                                $1,000,001 - $10 million              $500,000,001 - $1 billion
                             $50,001 - $100,000                          $10,000,001 - $50 million             $1,000,000,001 - $10 billion
                             $100,001 - $500,000                         $50,000,001 - $100 million            $10,000,000,001 - $50 billion
                             $500,001 - $1 million                       $100,000,001 - $500 million           More than $50 billion




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Debtor     Iced Tea with Lemon, LLC                                                          Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF TEXAS

Case number (if known)                                                   Chapter      7
                                                                                                                           Check if this an
                                                                                                                           amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Cinco Peliculas, LLC                                                    Relationship to you                affiliate
District   Northern District of Texas                 When     6/6/24              Case number, if known
Debtor     Dos Peliculas, LLC                                                      Relationship to you                affiliate
District   Northern District of Texas                 When     6/6/24              Case number, if known
Debtor     Seis Peliculas, LLC                                                     Relationship to you                affiliate
District   Northern District of Texas                 When     6/6/24              Case number, if known
Debtor     Tres Peliculas, LLC                                                     Relationship to you                affiliate
District   Northern District of Texas                 When     6/6/24              Case number, if known
Debtor     Two is One, One is None, LLC                                            Relationship to you                affiliate
District   Northern District of Texas                 When     6/6/24              Case number, if known
Debtor     Woodbury Alamo, LLC                                                     Relationship to you                affiliate
District   Northern District of Texas                 When     6/6/24              Case number, if known




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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                              Northern District of Texas
 In re       Iced Tea with Lemon, LLC                                                                         Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 14,285.71
             Prior to the filing of this statement I have received                                        $                 14,285.71
             Balance Due                                                                                  $                       0.00

2.   The source of the compensation paid to me was:
               Debtor             Other (specify):
Debtor paid $100,000.00 for the filing of the chapter 7 cases of all affiliates. The source was a loan to all debtors from principal William D.
DiGaetano for filing of all debtors chapter 7 cases. Prior to being engaged to file chapter 7, Polsinelli represented the entities in regard to
potential workouts with franchisor and landlords over the preceding year and was paid $74,107.00. Additionally, Polsinelli filed and served a
final decree in the previous Iced Tea with Lemon, LLC chapter 11 bankruptcy within the year and was paid $15,638.20.

3.   The source of compensation to be paid to me is:
                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]


6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     May 31, 2024                                                             /s/ Katherine M. Devanney
     Date                                                                     Katherine M. Devanney
                                                                              Signature of Attorney
                                                                              Polsinelli PC
                                                                              222 Delaware Avenue
                                                                              Suite 1101
                                                                              Wilmington, DE 19801
                                                                              302-252-0920 Fax: 302-252-0921
                                                                              kdevanney@polsinelli.com
                                                                              Name of law firm
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                                          United States Bankruptcy Court
                                                 Northern District of Texas
 In re   Iced Tea with Lemon, LLC                                                      Case No.
                                                              Debtor(s)                Chapter     7




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Iced Tea with Lemon, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Two is One, One is None, LLC
320 West Las Colinas Blvd.
Irving, TX 75039-5680




  None [Check if applicable]




May 31, 2024                                     /s/ Katherine M. Devanney
Date                                             Katherine M. Devanney
                                                 Signature of Attorney or Litigant
                                                 Counsel for Iced Tea with Lemon, LLC
                                                 Polsinelli PC
                                                 222 Delaware Avenue
                                                 Suite 1101
                                                 Wilmington, DE 19801
                                                 302-252-0920 Fax:302-252-0921
                                                 kdevanney@polsinelli.com
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Alamo Drafthouse Cinemas, LLC
3908 Avenue B
Austin, TX 78751


Atmos Energy
PO Box 790311
Saint Louis, MO 63179-0311


Bill.com
6220 America Center Drive, Ste. 100
San Jose, CA 95002


Central Insurance Companies
PO Box 828
Van Wert, OH 45891-0828


City of Richardson
PO Box 831907
Richardson, TX 75083-1907


Fintech
3109 W MLK Jr Blvd., Ste. 200
Tampa, FL 33607


Ironedge Group LTD
3000 Wilcrest Dr., Ste. 300
Houston, TX 77042-3483


NCR Corporation / POS Solutions
6201 East Oltorf, Ste 650
Austin, TX 78741


NRG Business
PO Box 660749
Dallas, TX 75266-0749


Nuco2 Inc.
PO Box 417902
Boston, MA 02241-7902
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Roadrunner Recycling
One PPG Place FL 33
Pittsburgh, PA 15222


Spectrum - Coax
6399 South Fiddler's Green, Third Floor
Greenwood Village, CO 80111


Spectrum - Fiber
PO Box 60074
City of Industry, CA 91716-0074


SVS Network
101 Bullitt Lane
Louisville, KY 40222


TXU Energy
PO Box 650638
Dallas, TX 75265-0638


Voice Carrier
PO Box 742541
Los Angeles, CA 90074-2541


WorldPay / FISGlobal
8500 Governors Hill Dr.
Symmes Township, OH 45249


Amazon.com
410 Terry Ave N
Seattle, WA 98109


Mood Pandora
2100 S IH 35 Frontage Rd, Suite 201
Austin, TX 78704


Presto-X / Rentokil
1125 Berkshire Boulevard
Wyomissing, PA 19610
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Staples Inc.
PO Box 105748
Atlanta, GA 30348-5748


The Coconut King
165 Cambridgepark Drive, Unit 236
Cambridge, MA 02140


Andrews Distributing
2730 Irving Blvd.
Dallas, TX 75207


Ben E. Keith Beverages
1805 Record Crossing
Dallas, TX 75235


Favorite Brands
3900 North McColl Rd.
McAllen, TX 78501


Flood Distribution LLC
7303 Burleson Rd., Suite No. 700
Austin, TX 78744


Four Bullets Brewery
640 Interurban Street
Richardson, TX 75081


Fullclip Craft Distributors
3148 Quebec Street
Dallas, TX 75247


Happy Hippie Brewing Company
507 South Cottonwood Drive
Richardson, TX 75080


Martin House Brewing Co
220 South Sylvania Avenue, Suite 209
Fort Worth, TX 76111
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Oak Cliff Brewing Co
1300 S Polk St, No. 222
Dallas, TX 75224


Oak Highlands Brewery
10484 Brockwood Road
Dallas, TX 75238


Odd Muse Brewing Company
4488 Spring Valley Road
Farmer's Branch, TX 75244


Peticolas Brewing Company
2026 Farrington Street
Dallas, TX 75207


Republic National Distributing Company
1010 Isuzu Parkway
Grand Prairie, TX 75050


Rollertown Beerworks
412 North Oklahoma Dr., Ste. 106
Celina, TX 75009


Southern Glazer’s
2001 Diplomat Dr,
Farmers Branch, TX 75234-8919


Spec’s Family Partners
2410 Smith Street
Houston, TX 77006


Michael Rick
5850 Belt Line Road, Apt 830
Dallas, TX 75254


A24 LLC
31 W 27th St 11th floor
New York, NY 10001
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AGFA
3908 Avenue B
Austin, TX 78751


Amazon Studios
PO Box 84188
Seattle, WA 98124-5488


Arbelos
739 N. Occidental Blvd. No. 3
Los Angeles, CA 90026


Bleecker Street Media LLC
381 Park Avenue South, Ste. 1401
New York, NY 10016


Box Office Spectaculars
12119 Laurel Terrace Drive
Studio City, CA 91604


Cinelife
11601 Wilshire Blvd. Ste 210
Los Angeles, CA 90025


Crunchyroll, LLC.
3501 Olympus Blvd., Suite 400
Coppell, TX 75019


Disney
500 S. Buena Vista Street
Burbank, CA 91521


Eleven Arts, Inc.
2127 Sawtelle Blvd.
Los Angeles, CA 90025


Emick Media LLC
5313 Quakertown Ave.
Woodland Hills, CA 91364
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FilmRise
220 36th Street, 4th Floor, Unit No. 78
Brooklyn, NY 11232


Full Moon Empire, Inc.
6222 Wilshire Blvd. Suite 313
Los Angeles, CA 90048


Gkids
225 Broadway
New York, NY 10007


Iconic Media Holdings Inc.
9620 Las Vegas Blvd S
Suite E4 No. 688
Las Vegas, NV 89123


Iconic Releasing, LLC
2121 Avenue of the Stars I, Ste. 2320
Los Angeles, CA 90067


IFC Films LLC
11 Penn Plaza
New York, NY 10001


Janus Films Company, L.P.
250 East Hartsdale Ave, Ste 42
Hartsdale, NY 10530


Midsummer House
Attn: Julie Dawn Cole
Alton, ____ GU34 5BH


Kino Lorber
333 W. 39th St. Suite 503
New York, NY 10018


Lightyear Entertainment LP
4011 Alcove Avenue
Studio City, CA 91604
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Lionsgate Films Inc.
Attn: Jesse Lee
PO Box 29159
New York, NY 10087-9159


Magnolia Pictures LLC
49 West 27th Street, 7th Floor
New York, NY 10001


MGM - Metro-Goldwyn-Mayer Studios, Inc.
245 N. Beverly Drive, 4th Floor
Beverly Hills, CA 90210


Mirror Releasing LLC
812 Robertson Blvd.
West Hollywood, CA 90069


MPI Media Group
16101 South 108th Ave.
Orland Park, IL 60467


Neil Breen Films LLC
2105 Pescara Court
Las Vegas, NV 89123


Neon Films
636 Broadway Suite 1000
New York, NY 10012


Netflix Studios, LLC
100 Winchester Circle
Los Gatos, CA 95032


Oscilloscope Pictures
140 Havemeyer Street
Brooklyn, NY 11211


Outsider Pictures II LLC
1127 9th Street No. 104
Santa Monica, CA 90403
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Paramount Pictures Corporation
5555 Melrose Avenue
Los Angeles, CA 90038


Paris Themmen
13615 Debby St.
Valley Glen, CA 91401


Park Circus, Inc.
2060-D E. Avenida De Los Arboles
Suite No. 369
Thousand Oaks, CA 91632


Picturehouse
21650 Oxnard Street, Suite 2400
Woodland Hills, CA 91367


Rainbow Releasing
844 25th Street
Santa Monica, CA 90403


Rialto Pictures LLC
45 East 72nd, Street 16A
New York, NY 10021


Sentai Filmworks
10114 W Sam Houston Pkwy S
Houston, TX 77099


Sestero Pictures
591 Fulton Way
Danville, CA 94526


Shorts International Ltd.
2801 Ocean Park Blvd. No. 343
Santa Monica, CA 90405


Shout! Factory LLC
1640 South Sepulveda Blvd., Ste. 400
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Los Angeles, CA 90025


Sony Picture Classics
25 Madison Avenue, 24th Floor
New York, NY 10010


Sony Pictures Releasing
10202 West Washington Blvd.
Culver City, CA 90232


Strand Releasing
6140 W. Washington Blvd.
Culver City, CA 90232


Theater Sports Network
3301 Hayden Ridge Way
Riverton, UT 84065


Trafalgar Releasing Ltd
222 Broadway, 19th Fl
New York, NY 10038


UNC School of the Arts
1533 S. Main Street
Winston Salem, NC 27127-2738


Universal Pictures
PO Box 848270
Dallas, TX 75284-8270


Utopia Select LLC
8850 E Cloudview Way
Anaheim, CA 92808


Variance Films, Inc.
188 Springfield Ave.
Rutherford, NJ 07070


Warner Bros.
4000 Warner Boulevard
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Burbank, CA 91505


Well Go USA, Inc.
3801 E. Plano Parkway Suite 300
Plano, TX 75074


Wichita Big Screen
P.O. Box 13445
Wichita, KS 67213


Wild Eye Releasing
579 Raritan Road Suite 170
Roselle, NJ 07203


Worldwide Entertainment Corporation
135 S. McCarty Drive No. 101
Beverly Hills, CA 90212


Action Lock Doc
1245 N. Plano Rd.
Richardson, TX 75081


Alsco
2816 Central Expressway
Wichita Falls, TX 76301


Aqua Pro by Little Green Frog
PO Box 1497
Asheville, NC 28802


Aquasana Global Inc.
6310 Midway Road
Fort Worth, TX 75080


Artisan Menu Covers, LLC
420 W. Main St.
Eastland, TX 76448


AUSA - North Texas Chapter
513 Seminole Trail
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Murphy, TX 75094


BTH Bank
PO Box 7220
Tyler, TX 75711


Burton Gilliam
1427 Tascosa Court
Allen, TX 75013


C Hodges & Associates, PLLC
13642 Omega Rd.
Dallas, TX 75244


Cannon Gentry
4621 Bucknell Drive
Garland, TX 75042


Cintas Corporation
PO Box 631025
Cincinnati, OH 45263


City of Richardson Alarm Program
P.O. Box 141089
Irving, TX 75014-1089


City of Richardson Health Dept.
PO Box 830389
Richardson, TX 75083-0309


Cold Tex Refrigeration LLC
3175 US Hwy 175
Kaufman, TX 75142


Convergint Technologies LLC
35257 Eagle Way
Chicago, IL 60678-1352


Cozzini Bros, Inc.
350 Howard Ave.
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Des Plaines, IL 60018


Culligan
3201 Premier Dr., Ste. 300
Irving, TX 75063


CV Premier
P.O. Box 168022
Irving, TX 75016


Dallas County Tax Office
1201 Elm Street, Suite 2600
Dallas, TX 75270


Dallas Mechanical Group LLC
11925 N. Stemmons Fwy. Ste. 130
Dallas, TX 75234


Darling Promo
P.O. Box 27619
Austin, TX 78755


Deluxe Echostar LLC
2130 N. Hollywood Way
Burbank, CA 91505


Digital Cinema Distribution Coalition LLC
1840 Century Park East Suite 550
Los Angeles, CA 90067


Earthtek Inc.
408 113th Street
Arlington, TX 76011


Ecolab
PO Box 70343
Chicago, IL 60673-0343


Edward Don & Company
2562 Paysphere Circle
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Chicago, IL 60674


FedEx
PO Box 660481
Dallas, TX 75266-0481


Freshpoint
4721 Simonton Rd.
Dallas, TX 75244


Frost Bank
111 W Houston St, Suite 100
San Antonio, TX 78205


Fusion / Birch Communications
PO Box 105066
Atlanta, GA 30348-5066


Gasket Guy of DFW LLC
2201 Midway Rd. Ste 324
Carrollton, TX 75006


Gateway Services
6420 Richmond Ave
Houston, TX 77057


Geeks Who Drink, LLC
2400 Industrial Lane Suite 700
Broomfield, CO 80020


Hartman Richardson Height Props LLC
P.O. Box 571017
Houston, TX 77257-1017


Hotschedules / Fourth
PO Box 848472
Dallas, TX 75284-8472


Jim's Climate Control Inc.
4128 Mildenhall Dr.
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Plano, TX 75093


John R. Ames, CTA
P.O. Box 139066
Dallas, TX 75313-9066


Kaeser & Blair, Inc.
4236 Grissom Drive
Batavia, OH 45103-1669


Kitchen Equipment Professionals
3175 US Hwy 175
Kaufman, TX 75142


Lane & McClain Distributors
2245 Midway Rd. No. 300
Carrollton, TX 75006


Lawton Commercial Services LLC
PO Box 1179
McKinney, TX 75070


Lemma Coffee Roasters, LLC
3841 Market St. No. 109
Denton, TX 76209


Liber Cocktails, LLC
2204 Forbes Dr., Suite 103
Austin, TX 78754


Mark Weisbart
10501 N Central Expy, Ste. 106
Dallas, TX 75231


Melissa Saylor
701 Excalibur Dr.
McKinney, TX 75071


Minuteman Press - 850 S Greenville
850 S. Greenville Ave., Ste. 114
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Richardson, TX 75081


Mission Restaurant Supply
PO Box 10310
San Antonio, TX 78210


Morris Drywall Systems
PO Box 262
Whitehouse, TX 75791


Moving Image Technologies
17760 Newhope Street, No. B
Fountain Valley, CA 92708


National Proserve
785 W. Wheatland Road, Suite 206
Duncanville, TX 75116


Omni Agent Solutions
5955 DeSoto Ave., Ste. 100
Woodland Hills, CA 91367


Paychex
PO Box 29769
New York, NY 10087-9769


Phillip Glasser
301 Dunbar Ct.
Franklin, TN 37064


Polsinelli PC
900 W. 48th Place Suite 900
Kansas City, MO 64112


Pro Duct Cleaning
2639 Walnut Hill Lane Suite 200
Dallas, TX 75229


RealD, Inc.
246 S. Taylor Ave., Suite 100
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Louisville, CO 80027


Rentokil North America, Inc
PO Box 472127
Charlotte, NC 28247-2127


Richardson ISD Tax Office
970 Security Row
Richardson, TX 75081


Rickey W Smith
7843 Alto Caro Dr.
Dallas, TX 75248


Rivercity Sportwear LLC
1709 IH 35 South
San Marcos, TX 78666


Smart Care Equipment Solutions
PO Box 74008980
Chicago, IL 60674


Sony Electronics Inc.
PO Box 100172
Pasadena, CA 91189-0172


Southwest Cinema Services
6308 Needham Lane
Austin, TX 78739


Spices Southern Style
PO Box 20
Manor, TX 78653


Strong Technical Services, Inc.
11422 Miracle Hills Drive
Omaha, NE 68154


Swank Motion Pictures, Inc.
2844 Paysphere Circle
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Tech Service Today, LLC
1903 S Congress Ave., Ste. 305
Boynton Beach, FL 33426


Texas Comptroller of Public Accounts
PO Box 149348
Austin, TX 78714-9348


Touchmate, Inc.
7703 North Lamar Blvd Suite 100
Austin, TX 78752


Tripleseat Software LLC
50 Beharrell St., Suite B
West Concord, MA 01742


US Foods Inc.
4325 Intewood South Parkway East
Houston, TX 77032


Ushio America, Inc
5440 Cerritos Dr
Cypress, CA 90630


Vista Group (US), Inc.
335 N. Maple Dr. Ste. 150
Beverly Hills, CA 90210


Vortex Colorado, Inc
20 Odyssey
Irvine, CA 92618


Whitley Penn
640 Taylor St. Suite 2200
Fort Worth, TX 76102


Window Cleaner Pros
5800 Preston Oaks Road, Suite 1087
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Dallas, TX 75254


YESCO - Houston
12810 Murphy Rd.
Stafford, TX 77477


Zerorez Inc.
1000 West Crosby Road, Suite 124
Carrollton, TX 75006

Albiso, Michael
6501 Meyer Way Apt 7141
McKinney, TX 75070


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4823 N. Galloway Ave. Apt. 4205
Mesquite, TX 75150


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17207 Marianne Circle
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Bengel, Ally
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Brown, Amaya
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Carker, Aimee
6164 Jereme Trl
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Carter, Camaran
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Chapman, Joshua
8537 Southwestern Blvd
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Dallas, TX 75206


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Cope, Lee
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Richardson, TX 75080


Coulonge, Evelyn
6520 Southpoint Dr
Dallas, TX 75248


Cross, Joe Kate
10 Man O War Lane
Fairview, TX 75069


Crow, Travis
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Dallas, TX 75244


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Dallas, TX 75206


Dahl, Cameron
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Allen, TX 75013


Dennis, Thomas
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Fort Worth, TX 76109


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Fritz, Karsten
5918 Bent Trail
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955 N Loop Rd 5416
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Hightower, Russell
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Lufkin, TX 75901


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6740 Patrick Lane
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Hudson, Terrance
6417 Ridgecrest Rd
Apt 226
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Dallas, TX 75231


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Kuda, Darylyn "Lyn"
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Lilley, Travis
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Moume, Lemmi
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Salmon, Brady
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Richardson, TX 75080


Saulter, Alex
13450 Esperanza Rd
apt 221
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